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Department of the Treasury Date: ~
Fy) Internal Revenue Service June 26, on
Privacy, Governmental Liaison and Disclosure Emplayer maine:
IRS Centralized Processing Unit Eric Gadsden
Stop 93A Employee 1D number:
PO Box 621506 0235156
Atlanta, GA 30362 Telephone number:
213-372-4304
Carolyn Buff Fax number:
c/o Steven Kraft 855-205-9336
Case aumber:
Bahnhofplatz 9
i 2020-02748
8001 Zurich tn Buff
Switzerland Re: Carolyn Bu
Dear Ms. Buff:

This is in response to your Freedom of Information Act (FOIA) request dated June 15, 2020, received in our office June

15, 2020.

I'm unable to provide the information you requested by July 14, 2020, which is the 20 business-day period allowed by
law. In certain circumstances, the FOIA allows for an additional 10-day statutory extension.

1 need additional time to:
[ ] Search for and collect the requested records from other locations
[X] Search for, collect, and review a large volume of records
[ ] Consult with another agency or Treasury component
[ ] Consult with another IRS office

| expect to complete your request by August 31, 2020. As part of this extension, the statutory response date wil] be
extended to July 28, 2020. You don’t need to reply to this letter if you agree to the extended response date. Please
consider contacting me to arrange an alternative time frame for processing the request or limit the scope of your FOIA

request, which could reduce the time in processing your request.

Please be aware that extending the time for responding to your request will not delay or postpone any administrative
examination, investigation, or collection action. ,

Pursuant to 26 CFR § 601.702, there is no right to an administrative appeal for failure to meet the .
day, or additional 10 business day time limits for response. statutory 20 business

However, you do have the right to file suit for a judici iew. i ‘ oe
US. Pht ice Come gh or a judicial review. You can file suit after July 28, 2020. File your suit in the
* Where you reside or have your principal place of business

* Where the records are located, or
* In the District of Columbia

Rule 4(i1)(C), of the Federal Rules of Civil Procedure, also requires you to send b : ,
copy of the summons and complaint to the IRS, (as well as to the Attorney General and be oeenared hee
States y for

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the district in which the action is brought, (A copy of the summons and complaint may also be hand celiere to the
United States Attorney.) You must send the IRS copies, by registered or certified or registered mail, to:

Attention: CC: PA: Br 6/7
Commissioner of Internal Revenue
1111 Constitution Avenue, NW
Washington, D.C. 20224

If you would like to discuss our response, you have the right to contact the FOIA public liaison, Summer Sutherland, at:
801-620-2149

The FOIA public liaison responds to FOIA and Privacy Act requests for copies of documents maintained by the
IRS. There is no provision in either Act to resolve tax, collection, or processing issues and our staff isn’t trained to answer
questions regarding those issues. If you need assistance with tax-related issues, you can call the IRS at 800-829-1040.

You also have the right to contact the Office of Government Information Services (OGIS). The Office of Government
nformation Services, the Federal FOIA Ombudsman’s office, offers mediation services to help resolve disputes between
‘OIA requesters and federal agencies. The contact information for OGIS is:

Office of Government Information Services
National Archives and Records Administration
8601 Adelphi Road--OGIS

College Park, MD 20740-6001

202-741-5770

877-684-6448

ogis@nara.gov

ogis.archives.gov

pologize for any inconvenience caused by this delay.

you have questions, you can contact me at the telephone number shown at the top of this letter,

Sincerely,
bos Paar —

Eric Gadsden
Disclosure Specialist
Disclosure Office 14

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Catalog Number 68326N
